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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ANTHONY TATE,
                                  Plaintiff,

 -   against -

SEAN COMBS, DADDY’S HOUSE RECORDINGS                           Case No. 24-cv-08810 (LAK)
INC., CE OPCO, LLC d/b/a COMBS GLOBAL f/k/a/
COMBS ENTERPRISES LLC, BAD BOY                                 ORAL ARGUMENT
ENTERTAINMENT HOLDINGS, INC., BAD BOY                          REQUESTED
PRODUCTIONS HOLDINGS, INC., BAD BOY BOOKS
HOLDINGS, INC., BAD BOY RECORDS LLC, BAD
BOY ENTERTAINMENT LLC, BAD BOY
PRODUCTIONS LLC, ORGANIZATIONAL DOES 1-10,
AND INDIVIDUAL DOES 1-10.
                                  Defendants.



       PLEASE TAKE NOTICE that upon the accompanying memorandum of law, dated

February 25, 2025, and upon all prior proceedings had in herein, Defendants Sean Combs, Daddy’s

House Recordings Inc., CE OpCo, LLC d/b/a Combs Global f/k/a Combs Enterprises, LLC, Bad

Boy Entertainment Holdings, Inc., Bad Boy Productions Holdings, Inc., Bad Boy Books Holdings,

Inc., Bad Boy Entertainment LLC, and Bad Boy Productions LLC (collectively, the “Combs

Defendants”) will move this Court, in accordance with Fed. R. Civ. P. 12(b)(6), before the

Honorable Lewis A. Kaplan, in Courtroom 21B at the Daniel Patrick Moynihan United States

Courthouse, 500 Pearl Street, New York, New York 10007, for an order dismissing Plaintiff’s

claims in the Amended Complaint (ECF #24) against the Combs Defendants with prejudice.
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Dated: February 25, 2025
       New York, New York


                                   SHER TREMONTE LLP

                                   /s/ Mark Cuccaro
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